                 EXHIBIT D


Case 1-20-01016-CLB, Doc 303-4, Filed 11/21/23, Entered 11/21/23 16:07:11,
                  Description: Exhibit D - Email, Page 1 of 4
From:                 Schaeffer, Dennis
To:                   Leah Costanzo; Kristen Wolf
Cc:                   pskenney@kslnlaw.com; rsollenne@kslnlaw.com; lberklaw@yahoo.com
Subject:              RE: Evans, Billy and Heather v. Southtowns Catholic School, et al.: 801322/2019 Billy Evans et al v. Southtowns
                      Catholic School et al
Date:                 Tuesday, May 31, 2022 3:41:49 PM


Thanks, Leah. My firm's handling the bankruptcy for the Diocese of Buffalo, so I can get clarification
on this point from my colleagues.

This lawsuit predated the Diocese of Buffalo's filing of Chapter 11. I presume that Southtowns
Catholic is enumerated in a schedule of the bankruptcy pleadings that names hundreds of diocese-
affiliated corporations, for whom a discharge is also sought (as part of a so-called "channeling
injunction"). But I am also aware that many lawsuits that triggered the coverage of the Diocese's
protected self-insurance program have moved forward in spite of the stay (because the self-
insurance program's assets are not being treated as assets of the bankruptcy estate).

But I am probably out of my depth on those issues. I'll check with my bankruptcy colleagues and
report back.


Dennis K. Schaeffer
716.416.7049 Direct
716.341.4385 Cell


From: Leah Costanzo <lcostanzo@steveboyd.com>
Sent: Tuesday, May 31, 2022 3:24 PM
To: Kristen Wolf <kwolf@nycourts.gov>
Cc: Schaeffer, Dennis <dschaeffer@bsk.com>; pskenney@kslnlaw.com; rsollenne@kslnlaw.com;
lberklaw@yahoo.com
Subject: RE: 801322/2019 Billy Evans et al v. Southtowns Catholic School et al

                External Email: Use caution before clicking links or opening attachments.
Hi Kristen,

I think the hold up is the stay issue. I was recently informed that Judge Bucki issued (or rather
extended) a stay for all cases involving Southtowns Catholic as they are a Diocese of Buffalo school.
It also appears that Southtowns Catholic’s lawyers in the bankruptcy cases stipulated to stay all
pending litigation against them due to the bankruptcy. I have all discovery prepared to send to
defendants, but don’t want to be violating a stipulation or prior Order. I’m trying to figure out if this
case is subject to the stay, although since Southtowns Catholic is in bankruptcy, I’m not sure how it
wouldn’t be. Any guidance would be appreciated. I am happy to circulate Judge Bucki’s order and
some of the documents I was able to pull from the docket if that’s helpful to the Court or the other
parties. Thank you,

Leah



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                   Description: Exhibit D - Email, Page 2 of 4
Leah Costanzo, Esq.
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From: Schaeffer, Dennis <dschaeffer@bsk.com>
Sent: Tuesday, May 31, 2022 3:15 PM
To: Kristen Wolf <kwolf@nycourts.gov>; pskenney@kslnlaw.com; lberklaw@yahoo.com; Leah
Costanzo <lcostanzo@steveboyd.com>; rsollenne@kslnlaw.com
Subject: RE: 801322/2019 Billy Evans et al v. Southtowns Catholic School et al

Hi, Kristen –

We represent the school, Southtowns Catholic. I emailed some follow-up requests to plaintiff's
counsel in mid-December 2021 (mostly requests for identification of additional treating
professionals as well as some authorizations (especially for the records of the forensic interview that
Child Advocacy Center did)). I haven't heard anything in response.


Dennis K. Schaeffer
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From: Kristen Wolf <kwolf@nycourts.gov>
Sent: Tuesday, May 31, 2022 12:12 PM
To: pskenney@kslnlaw.com; lberklaw@yahoo.com; lcostanzo@steveboyd.com; Schaeffer, Dennis
<dschaeffer@bsk.com>; rsollenne@kslnlaw.com
Subject: RE: 801322/2019 Billy Evans et al v. Southtowns Catholic School et al

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Good afternoon:

Can you please update the court as to the status of discovery in in this matter?

Kristen M. Wolf
Confidential Law Clerk to

 Case 1-20-01016-CLB, Doc 303-4, Filed 11/21/23, Entered 11/21/23 16:07:11,
                   Description: Exhibit D - Email, Page 3 of 4
Hon. Catherine Nugent Panepinto
(716) 845-2597



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